                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 KEVIN M. PIPPIN,                                )
                                                 )
               Petitioner,                       )
                                                 )
 v.                                              )     Nos. 3:15-CR-069
                                                 )          3:16-CV-681
 UNITED STATES OF AMERICA,                       )
                                                 )
               Respondent.                       )


                               MEMORANDUM AND ORDER

        Kevin M. Pippin (“Petitioner”) filed a motion to vacate, set aside, or correct his

 sentence pursuant to 28 U.S.C. § 2255, alleging two grounds of ineffective assistance by

 his trial attorney. [Doc. 1]. His first claim for relief was denied and dismissed by this Court.

 [Doc. 5]. The undersigned referred this matter to United States Magistrate Judge H. Bruce

 Guyton for an evidentiary hearing on Petitioner’s second claim – whether his former counsel

 failed to file a requested appeal. [Id.].

        Magistrate Judge Guyton conducted an evidentiary hearing on June 3, 2021,

 receiving testimony from Petitioner and Petitioner’s trial counsel, Paula Voss (“Attorney

 Voss”). Following the hearing, Magistrate Judge Guyton allowed the parties to file

 supplemental briefing. [Docs. 11 & 12]. On July 6, 2021, Magistrate Judge Guyton issued

 his Report and Recommendation (“R&R”). [Doc. 13] Therein, the magistrate judge

 determined that Petitioner failed to meet his burden to establish that Attorney Voss failed

 to consult with him about filing an appeal. [Id. at 12]. Further, Petitioner’s testimony was


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 found to be inconsistent with his filings, and Magistrate Judge Guyton questioned the

 credibility of Petitioner’s testimony. [Id.]. The magistrate judge also found that Attorney

 Voss had appropriately consulted with Petitioner about filing an appeal. [Id. at 13]. In light

 of these findings, Magistrate Judge Guyton recommended that the Court deny Petitioner’s

 § 2255 motion as to the second ground for relief.

        Petitioner objected to the R&R, and the United States has responded to those

 objections. [Docs. 14 & 15]. The matter is now ripe for determination. A transcript of

 Magistrate Judge Guyton’s evidentiary hearing has been filed [Doc. 10] and has been

 carefully reviewed by the Court. For the reasons that follow, the Court will adopt the Report

 and Recommendation in full. Petitioner’s second ground for relief will be DENIED and

 his § 2255 motion to vacate [Doc. 1] will be DISMISSED.

 I.     BACKGROUND

        The indictment in this case charged Petitioner with two counts related to possession

 and distribution of child pornography, along with forfeiture allegations. [Criminal “Crim”

 Doc. 8]. Petitioner, represented by Attorney Voss, pled guilty to the indictment without a

 plea agreement on July 27, 2015. [Crim. Doc. 18]. The Court sentenced Petitioner to 124

 months’ imprisonment on each count, to be served concurrently. [Crim. Doc. 48].

 Petitioner did not file an appeal.

        In December 2016, Petitioner filed this § 2255 motion, raising two grounds for

 relief.1 [Doc. 1]. This memorandum, like Magistrate Judge Guyton’s Report and


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  Petitioner filed the motion pro se. He was, however, represented by appointed counsel at the June
 3 evidentiary hearing, and his objection to the R&R is filed by counsel.
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 Recommendation, addresses only the second of those grounds.

 II.    AUTHORITY

        District courts are both statutorily and constitutionally required to conduct a de novo

 review of a magistrate judge’s report and recommendation. See United States v. Shami, 754

 F.2d 670, 672 (6th Cir. 1985). However, it is necessary only to review “those portions of

 the report or specified proposed findings or recommendations to which objection is made.”

 28 U.S.C. § 636(b). District courts need not provide de novo review where objections to a

 report and recommendation are frivolous, conclusive, or general. See Mira v. Marshall,

 806 F.2d 636, 637 (6th Cir. 1986).

        A petitioner alleging ineffective assistance must satisfy the two-part test set forth in

 Strickland v. Washington, 466 U.S. 668, 687 (1984). First, the petitioner must establish, by

 identifying specific acts or omissions, that counsel’s performance was deficient and that

 counsel did not provide “reasonably effective assistance,” id., as measured by “prevailing

 professional norms.” Rompilla v. Beard, 545 U.S. 374, 380 (2005). Courts must presume

 that counsel’s assistance was effective, and petitioners bear the burden of showing

 otherwise. See Mason v. Mitchell, 320 F.3d 604, 616–17 (6th Cir. 2003).

        Second, a petitioner must demonstrate “a reasonable probability that, but for

 [counsel’s acts or omissions], the result of the proceeding would have been different.”

 Strickland, 466 U.S. at 694. “An error by counsel, even if professionally unreasonable,

 does not warrant setting aside the judgment of a criminal proceeding if the error had no

 effect on the judgment.” Id. at 691.

        In the context of an appeal, there is a long-established rule “that a lawyer who

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 disregards specific instructions from the defendant to file a notice of appeal acts in a

 manner that is professionally unreasonable.” Roe v. Flores-Ortega, 528 U.S. 470, 477

 (2000). In a case such as this, where Petitioner neither told his attorney to file an appeal

 nor told her not to file an appeal, courts must evaluate the attorney's performance by asking

 whether the attorney “consulted” with the defendant about the benefits and drawbacks of

 filing an appeal. Id. at 478. Consultation occurs when the attorney “advis[es] the defendant

 about the advantages and disadvantages of taking an appeal, and mak[es] a reasonable

 effort to discover the defendant's wishes.” Id. If consultation has occurred, then “[c]ounsel

 performs in a professionally unreasonable manner only by failing to follow the

 defendant's express instructions with respect to an appeal.” Id. (emphasis added). If

 counsel failed to consult with her client, then the court must address whether the failure to

 consult constitutes deficient performance. See id.

 III.   Analysis

        As noted above, the second claim in Petitioner’s § 2255 motion alleges that trial

 counsel was ineffective for failing to file an appeal after Petitioner requested her to do so.

 [Doc. 1]. As also noted above, Magistrate Judge Guyton found that Petitioner did not

 satisfy his burden to show that he specifically requested Attorney Voss to file an appeal

 and founds that Attorney Voss appropriately consulted with Petitioner about filing an

 appeal. [Doc. 13, p. 13].

        The magistrate judge concluded,

               Petitioner stated that following his sentencing hearing, Attorney Voss
               discussed that he would potentially receive an increased sentence if
               he filed an appeal. Petitioner testified that he then dropped the issue

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               of an appeal because he was worried about receiving an increased
               sentence. The risk of an increased sentence was of particular
               importance in this case because both parties acknowledge that
               Petitioner received a sentence that was well below the guideline range
               set forth in the presentence report. Petitioner testified that Attorney
               Voss reviewed the presentence report with him, while Attorney Voss
               stated that she would discuss options about potential pleas, as well as
               its advantages and disadvantages, after reviewing discovery. Further,
               Attorney Voss stated that she likely met with Petitioner before his
               change of plea hearing to review his potential options. Lastly,
               Attorney Voss testified that her office would usually send a defendant
               a closing letter and copy of the judgment following the imposition of
               sentencing and that she did not recall Petitioner ever reaching out to
               her following his sentencing hearing and requesting that she file an
               appeal on his behalf. Therefore, the Court finds that Attorney Voss
               appropriately consulted with Petitioner about the filing of an appeal.

 [Doc. 13, p. 13] (internal citations omitted).

        Petitioner, through counsel, filed three objections to the R&R:

               1) the authority cited by Magistrate Judge Guyton, Regalado v. United

                   States, 334 F.3d 520 (6th Cir. 2003), is not controlling and does not

                   support the finding that Petitioner filed to specifically instruct Attorney

                   Voss to file an appeal as there was never a discussion between Attorney

                   Voss and Petitioner about an alternative to an appeal;

               2) Magistrate Judge Guyton took “an entirely too expansive view of

                   ‘consultation,’” as the record does not show that Petitioner and Attorney

                   Voss were constantly, or consistently, discussing an appeal; and

               3) it was erroneous of Magistrate Judge Guyton not to consider the second

                   prong of Strickland as the court erred in determining that Petitioner failed

                   to establish the first prong of Strickland.


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 [Doc. 14]. The United States responded that Magistrate Judge Guyton did not err in relying

 on Regalado as “Petitioner and Ms. Voss discussed the possibility that Petitioner would

 receive a longer sentence if an appeal was successful,” which amounts to an alternative to

 appealing Petitioner’s sentence. Thus, the United States argues, consultation occurred, and

 Petitioner did not specifically direct Attorney Voss to appeal following the consultation.

 [Doc. 15]. The United States also argues that the discussion regarding the appeal does not

 need to be constant or consistent as Petitioner contends since the law only requires that a

 consultation occur. [Id.].

        At the evidentiary hearing, Petitioner’s testimony regarding his conversation with

 Attorney Voss about filing an appeal at his sentencing hearing differed from his pleadings.

 In his § 2255 motion, Petitioner stated, “[i]mmediately following the Court’s

 pronouncement of the sentence, Defendant turned to counsel and gave the directive:

 ‘Appeal.’ Counsel responded, ‘Okay.’ However, Defendant recently learned that she failed

 to do so…” [Doc. 1, p. 2]. At the evidentiary hearing, Petitioner testified that after the

 sentencing hearing he “asked her [Attorney Voss] about an appeal, and she said I could

 get, I could possibly get more time, and so I just dropped it at that point ’cause I did not

 want more time.” [Doc. 10, p. 10]. Petitioner could not recall whether he received a letter

 from Attorney Voss after sentencing regarding filing an appeal but stated that he is sure

 the undersigned informed him of his right to appeal his sentence. [Id.]. Petitioner further

 testified that he did not have any other conversation with Attorney Voss about an appeal

 other than the one at his sentencing hearing. He did not follow up with her about an appeal

 in the month between his sentencing hearing and when he self-reported to begin his

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 sentence because he “was scared of getting more time”. [Id., at 12-13, 20].

        Attorney Voss also testified at the hearing regarding whether Petitioner directed her

 to file an appeal. She testified that she “does not have a specific memory of [Petitioner

 asking her to file an appeal],” but it is something she “certainly would” do if she had been

 directed to do so by Petitioner. [Id., at 29]. Attorney Voss also testified that usually a

 closing letter and a copy of the judgment is sent to defendants following sentencing, but

 she does not recall Petitioner reaching out to her after the sentencing hearing about filing

 an appeal. [Id., at 30].

        As stated above, counsel’s performance might be deficient if, after consultation,

 counsel neglects to file an appeal after specific instructions from a defendant to do so. Here,

 the record supports Magistrate Judge Guyton’s conclusions that Attorney Voss consulted

 with Petitioner about an appeal as Attorney Voss advised Petitioner that filing an appeal

 would likely result in a higher sentence than he had received. Petitioner then decided not

 to file an appeal because he was “scared of getting more time.” Further, Petitioner did not

 specifically request that Attorney Voss file an appeal on his behalf following this

 consultation and made no further efforts to inquire about appealing or filing an appeal pro

 se.

        The Court does not find Petitioner’s argument that the Court erred in relying on

 Regalado as authority to be persuasive. Here, as in Regalado, Petitioner expressed a desire

 to appeal, had a consultation with counsel about the effects of appealing his sentence, and

 did not specifically direct his counsel to file an appeal. See Regalado, 334 F.3d 520. The

 Sixth Circuit found that counsel had not performed deficiently in that case, and this Court

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 finds the same here. As Petitioner has not met his burden to establish deficient performance

 of counsel, the Court need not address the prejudice prong of the Strickland standard, and

 Magistrate Judge Guyton did not err in declining to address it in the R&R. Strickland, 466

 U.S. 668.

 IV.    CONCLUSION

        After a thorough review of the Report and Recommendation [Doc. 13], the hearing

 transcript, and the parties’ filings, the Court ACCEPTS and ADOPTS the Report and

 Recommendation [Doc. 13] in its entirety. Petitioner’s objections [Doc. 14] to the Report

 and Recommendation are OVERRRULED. Accordingly, ground two of Petitioner’s 28

 U.S.C. § 2255 motion [Doc. 1; Crim Doc. 52] is DENIED and DISMISSED.

        The Clerk is DIRECTED to close the civil file.

               IT IS SO ORDERED.

                                                         ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge




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